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 1                                                                 The Honorable John H. Chun
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                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     STATE OF WASHINGTON; and                          NO. 2:25-CV-00602-JHC
11   STATE OF OREGON,
                                                       PLAINTIFFS’ MOTION FOR PARTIAL
12                             Plaintiffs,             SUMMARY JUDGMENT
13          v.                                         NOTE ON MOTION CALENDAR:
                                                       JUNE 26, 2025
14   DONALD TRUMP, in his official
     capacity as President of the United States        ORAL ARGUMENT REQUESTED
15   of America, et al.,
16                             Defendants.
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       PLAINTIFFS’ MOTION FOR SUMMARY                               ATTORNEY GENERAL OF WASHINGTON
                                                                         Complex Litigation Division
       JUDGMENT-- No. 2:25-cv-00602-JHC                                  800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
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 1                                        I.       INTRODUCTION
 2          The Constitution is clear: States are responsible for regulating “[t]he Times, Places and

 3   Manner” of federal elections, subject only to alteration by Congress. U.S. Const. art. I, § 4, cl. 1.

 4   The President has no constitutional authority to interfere with state election laws. Nor has

 5   Congress given the President statutory authority to do so.

 6          Disregarding the constitutional separation of powers and laws adopted by Congress,

 7   President Trump issued Executive Order 14,248. Among other things, this order purports to

 8   impose new restrictions on registering to vote, set aside longstanding and widespread state laws

 9   setting ballot-return deadlines, and dictate which voting machines can be federally certified. But

10   the President has no authority to do any of this. And by attempting to assert unilateral control

11   over elections, the President is threatening the foundation of our democracy. The Framers

12   carefully divided power over elections between the States and Congress to prevent the

13   accumulation of power in any one source. The President’s illegal effort to consolidate his

14   nonexistent power over elections flies in the face of that principle.

15          This Court should enter partial summary judgment in favor of Washington and Oregon,

16   hold that sections 2(a), 4(a), 4(b), and 7 of the Executive Order are ultra vires, and permanently

17   enjoin Defendants from implementing them. This Court should also enter a declaratory judgment

18   that the federal election day statutes, 2 U.S.C. § 7 and 3 U.S.C. § 1, do not preempt Washington

19   and Oregon’s ballot-receipt deadline laws.

20                                  II.        STATEMENT OF FACTS
21   A.     The Executive Order Seeks to Radically Change Voter Registration Requirements
22          To register to vote in Washington and Oregon (Plaintiff States), applicants must verify

23   that they are United States citizens, generally by attestation under penalty of perjury. Wash. Rev.

24   Code § 29A.08.010(1)(d), (f); Or. Rev. Stat. § 247.171(3)(e)-(f). This is also the proof of

25   citizenship that Congress requires on the national mail voter registration form (known as the

26   Federal Form) in the National Voter Registration Act (NVRA). 52 U.S.C. § 20508(b)(2); see


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 1   also 11 C.F.R. § 9428.4(b)(1)-(3) (setting the contents of the Federal Form). A person who
 2   falsely claims to be a U.S. citizen when registering to vote can be criminally prosecuted and
 3   deported. 8 U.S.C. § 1227(a)(3)(D)(i) (deportation); 18 U.S.C. § 1015(f) (up to five years’
 4   imprisonment); Wash. Rev. Code § 29A.84.130(2) (same). Plaintiff States also confirm the
 5   applicant’s identity, generally through a driver’s license number or the last four digits of the
 6   person’s social security number. See 52 U.S.C. § 21083(a)(5)(A). In addition, Plaintiff States’
 7   voter rolls are available for public review. Wash. Rev. Code § 29A.08.720(3); Or. Rev. Stat.
 8   § 247.945. Congress and Plaintiff States have adopted a system that makes voter registration
 9   easy and accessible for qualified citizens and that is secure against participation by noncitizens.
10          In March, President Trump issued Executive Order 14,248, which attempts to override
11   the laws adopted by Congress and the Plaintiff States. Under section 2(a), the President attempts
12   to replace the verification-by-sworn-attestation requirement with a “documentary proof of
13   United States citizenship requirement” for applicants using the Federal Form. Dkt. 1-1.
14   Specifically, section 2(a) directs the Election Assistance Commission (EAC) to “take appropriate
15   action to require, in its” Federal Form, “documentary proof of United States citizenship”
16   (DPOC), which it defines narrowly. Id. It also requires “a State or local official to record on the
17   form” specific information about “the type of document that the applicant presented . . . while
18   taking appropriate measures to ensure information security.” Id.
19          The EAC has taken preliminary steps to implement the Executive Order’s DPOC
20   requirement. League of United Latin Am. Citizens v. Exec. Off. of the President (LULAC), __ F.
21   Supp. 3d __, Civil Action No. 25-0946 (CKK), 2025 WL 1187730, at *29 (D.D.C. Apr. 24,
22   2025). In early April, the EAC sent a letter to state election officials “seeking consultation on
23   development of the” Federal Form in light of the Executive Order and stating that its request was
24   “[c]onsistent with 52 U.S.C. § 20508(a)(2),” which requires that the EAC consult with state
25   election officials in developing the Federal Form. Declaration of Stuart Holmes, Ex. B. A later
26   email from the EAC’s executive director set a May 2, 2025 deadline for feedback. Id., Ex. C.


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 1          In late April, the United States District Court for the District of Columbia concluded that
 2   section 2(a) is likely unconstitutional and entered a preliminary injunction. LULAC, 2025
 3   WL 1187730, at *41, 62. Less than a week later, the EAC’s executive director sent an email
 4   stating that, “[p]ursuant to” the preliminary injunction, “the solicitation of communications in
 5   response to” the EAC’s letter “regarding Section 2(a) of Executive Order 14248 is hereby
 6   paused.” Holmes Decl., Ex. D.
 7   B.     The Executive Order Seeks to Impose an Election Day Ballot-Receipt Deadline,
            Disenfranchising Hundreds of Thousands of Voters in Washington and Oregon
 8
            Washington and Oregon—like approximately one-third of States—count ballots received
 9
     after election day as long as the ballots were cast on or before election day. Wash. Rev. Code
10
     §§ 29A.40.110(4), 29A.60.190; Or. Rev. Stat. § 254.470(6)(e)(B). Voters who return a ballot by
11
     mail have no control over how long it takes USPS to deliver the ballot. Changes in USPS
12
     distribution are causing additional delivery delays, so even if a voter puts their ballot in the
13
     mail two or more days before election day, USPS may not deliver the ballot until after election
14
     day. Holmes Decl., ¶ 10; see also Declaration of Julie Wise, ¶ 35; Declaration of Mary Hall,
15
     ¶¶ 28, 30. Delays are particularly pronounced for rural voters, whose ballots must be taken to a
16
     distribution center (often in another county) before being returned to the county auditor. Holmes
17
     Decl., ¶ 10. Plaintiff States solve this problem and ensure that timely-cast ballots are counted by
18
     relying on the postmark or, if no postmark is present, the voter’s sworn declaration. Wash. Rev.
19
     Code §§ 29A.40.110(4), 29A.60.190; Or. Rev. Stat. § 254.470(6)(e)(B). In the 2024 general
20
     election, Washington counted 119,755 timely cast ballots received after election day, Holmes
21
     Decl., ¶ 45, and Oregon counted 13,596 such ballots, Declaration of Dena Dawson, ¶ 14.
22
            The Executive Order attempts to preempt state law. Relying on federal laws that establish
23
     the date for the election of federal officers, the Executive Order directs the EAC to “condition
24
     any available funding to a State” on the State excluding timely-cast ballots received after election
25
     day, with an exception for military and overseas voters. Dkt. 1-1, § 7(b). The Executive Order
26


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 1   also directs the Attorney General to “take all necessary action to enforce” the President’s
 2   interpretation of federal election day laws against States. Id. § 7(a). At a hearing in a different
 3   proceeding, an attorney for the U.S. Department of Justice (DOJ) indicated that the Attorney
 4   General could use “criminal prosecutions” to do so. Declaration of Kelly Paradis, Ex. A at 87.
 5   C.      The Executive Order Requires De-Certification of All Voting Systems in Use Across
             the United States
 6
             Plaintiff States use a variety of voting systems from different manufacturers. Holmes
 7
     Decl., ¶¶ 56-57; Dawson Decl., ¶ 18. All voting systems used in Plaintiff States have been
 8
     certified to comply with the applicable version of the Voluntary Voting System Guidelines
 9
     (VVSG) adopted by the EAC. Holmes Decl., ¶ 57; Dawson Decl., ¶ 18. These voting systems
10
     include tabulators, which scan ballots and count the votes for each race, and accessible voting
11
     units, which provide assistive technology for voters with disabilities. Holmes Decl., ¶¶ 53-54.
12
     Accessible voting units print out a completed ballot that voters submit. Id., ¶ 53. In Washington,
13
     any voter may use an accessible voting unit. Id. At least one county in Washington uses
14
     accessible voting units that print a ballot containing a barcode that contains votes. Hall Decl.,
15
     ¶ 43.
16
             The Executive Order mandates changes to the EAC’s voting system guidelines. It directs
17
     the EAC to issue amended guidelines “provid[ing] that voting systems should not use a ballot in
18
     which a vote is contained within a barcode or quick-response code in the vote counting process
19
     except where necessary to accommodate individuals with disabilities[.]” Dkt. 1-1, § 4(b)(i). The
20
     Executive Order further dictates that, “[w]ithin 180 days of the date of this order, the [EAC]
21
     shall take appropriate action to review and, if appropriate, re-certify voting systems under the
22
     new standards established under subsection (b)(i) of this section, and to rescind all previous
23
     certifications of voting equipment based on prior standards.” Id. § 4(b)(ii).
24

25

26


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 1                                          III.    ARGUMENT
 2           The Executive Order is unlawful in multiple ways. First, the President has no authority

 3   to impose new restrictions on voter registration, and so section 2(a)’s DPOC requirement and

 4   section 4(a)’s funding condition are ultra vires and violate the separation of powers. Second, the

 5   Constitution gives States primary authority to regulate federal elections; the President has no

 6   authority to set aside state ballot-receipt deadline laws. As a result, section 7 is ultra vires. Third,

 7   the President has no constitutional or statutory authority to determine which voting systems can

 8   be certified. As a result, section 4(b) is ultra vires. The Framers established a Constitution that

 9   prevents the consolidation of power; this Court should enforce the limits that they created and

10   enter partial summary judgment for Plaintiff States on each of these issues.

11           In addition to enjoining enforcement of these unlawful provisions of the Executive Order,

12   this Court should also enter declaratory judgment that Plaintiff States’ ballot-receipt deadline

13   laws do not violate federal election day statutes.

14   A.      Federal Courts Can and Do Invalidate Ultra Vires Acts by Executive Officials and
             Agencies
15
             It is axiomatic—but apparently bears repeating—that the President’s powers are limited.
16
     “The President’s power, if any, . . . must stem either from an act of Congress or from the
17
     Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952).
18
             When the President or any executive branch agency acts without constitutional or
19
     statutory authority, the action is ultra vires, and it falls to the federal courts to reestablish the
20
     proper division of federal power. See id. at 588-89 (invalidating President’s encroachment upon
21
     legislative sphere); id. at 655 (Jackson, J., concurring) (stating that “it is the duty of the Court to
22
     be last, not first, to give” up legal institutions such as the separation of powers); see also, e.g.,
23
     Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1328 (D.C. Cir. 1996) (“[w]hen an
24
     executive acts ultra vires, courts are normally available to reestablish the limits on his authority”
25
     (quoting Dart v. United States, 848 F.2d 217, 224 (D.C. Cir. 1988))); cf. Murphy Co. v. Biden,
26


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 1   65 F.4th 1122, 1130 (9th Cir. 2023) (holding that a claim “that the President violated separation
 2   of powers by directing” a cabinet officer “to act in contravention of a duly enacted law” could
 3   be justiciable). Federal courts appropriately invalidate such actions. E.g., Sierra Club v. Trump,
 4   963 F.3d 874, 890-93 (9th Cir. 2020), judgment vacated on other grounds, sub nom. Biden v.
 5   Sierra Club, 142 S. Ct. 46 (2021); LULAC, 2025 WL 1187730, at *16.
 6   B.      The President’s New Restrictions on Voter Registration are Ultra Vires and
             Unconstitutional
 7
             1.     Plaintiff States have standing to challenge the DPOC requirement
 8
             Plaintiff States have Article III standing to challenge section 2(a) because it causes an
 9
     injury-in-fact that is “fairly traceable” to Defendants’ conduct and “that is likely to be redressed
10
     by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citing Lujan
11
     v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). The DPOC requirement directly injures
12
     Plaintiff States in both their proprietary and sovereign interests. See Kentucky v. Biden, 23 F.4th
13
     585, 601-02 (6th Cir. 2022) (concluding that plaintiff states likely had standing to sue federal
14
     government based on proprietary and sovereign interests).
15
             First, Plaintiff States have established an injury-in-fact based on direct harms to their
16
     proprietary interests. The DPOC requirement—and the corresponding changes this would
17
     require for state voter registration agencies—create the sort of classic “pocketbook injur[y]” that
18
     readily constitutes an injury-in-fact. Washington v. FDA, 108 F.4th 1163, 1175 (9th Cir. 2024)
19
     (quoting California v. Texas, 593 U.S. 659, 674 (2021)). State voter registration agencies will
20
     have to make time-consuming and costly changes to their voter registration processes, and the
21
     Executive Order will increase the time required to assist applicants for public assistance.
22
     Declaration of Carla Reyes, ¶ 14-21. And Washington election officials will have to spend
23
     approximately $237,000 to reprogram the State’s voter registration database. Holmes Decl.,
24
     ¶ 30.
25

26


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 1           State and local election officials will also have to spend considerable time addressing
 2   voter confusion and assisting voters. The DPOC requirement is already causing this injury, and
 3   the harm will only increase as election day draws nearer. Declaration of Greg Kimsey Decl., ¶ 7;
 4   Holmes Decl., ¶¶ 41-42; Declaration of Linda Farmer, ¶¶ 13, 15, 17, 20-21, 23; Wise Decl.
 5   ¶¶ 20-21; Hall Decl., ¶¶ 21, 23. This confusion is unsurprising and inevitable. Many legal voters
 6   in Washington do not have the types of documentary proof of citizenship required by the
 7   Executive Order. See Declaration of Alejandro Sanchez, ¶¶ 22-23. Because of the confusion
 8   caused by the Executive Order, election officials will also have to undertake costly voter
 9   education campaigns (which could easily cost $1 million to $5 million in King County alone)
10   and trainings for staff. Wise Decl., ¶¶ 22, 24; Hall Decl. ¶¶ 22, 25; Farmer Decl., ¶ 23. This
11   “increased demand” for government services establishes concrete injuries particularized to
12   Plaintiff States. City & County of San Francisco v. U.S. Citizenship & Immigr. Servs., 981 F.3d
13   742, 754 (9th Cir. 2020).
14           Though the changes to the Federal Form have not yet been implemented, Plaintiff States’
15   proprietary injuries are imminent. See LULAC, 2025 WL 1187730, at *52. The Executive Order
16   mandates that the Federal Form require DPOC. Dkt. 1-1, § 2(a); see Paradis Decl., Ex. A
17   at 71-75 (DOJ taking position that EAC must require DPOC). The DPOC requirement itself
18   injures Plaintiff States, regardless of the specific wording the EAC later adopts on the Federal
19   Form. Implementing the DPOC requirement will require extensive administrative planning well
20   in advance of an election. Dawson Decl, ¶ 7; Farmer Decl., ¶¶ 16-17; Kimsey Decl., ¶ 9; Hall
21   Decl., ¶¶ 16-17. Because Plaintiff States must begin that planning soon, injury to their
22   proprietary interests is imminent.
23           Second, Plaintiff States have established an injury to their sovereign interest in regulating
24   elections. The Constitution expressly recognizes the States’ sovereign interest in regulating
25   “[t]he Times, Places and Manner” of holding elections for federal office. U.S. Const. art. I, § 4
26   (senators and representatives); see also id. art. II, § 1 (presidential electors). The Executive Order


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 1   directly interferes with that sovereign interest by regulating elections. Under Washington
 2   and Oregon law, a voter may verify citizenship by sworn attestation. Wash. Rev. Code
 3   § 29A.08.010(1)(d), (f); Or. Rev. Stat. § 247.171(3)(e)-(f). For voters using the Federal Form,
 4   the Executive Order purports to preempt these laws by requiring DPOC. Dkt. 1-1, § 2(a). Thus,
 5   interference with Plaintiff States’ own laws and sovereign interests in regulating the manner of
 6   verifying citizenship suffices to establish standing. See Alfred L. Snapp & Son, Inc. v. Puerto
 7   Rico, ex rel. Barez (Snapp), 458 U.S. 592, 601 (1982) (recognizing sovereign interest that
 8   includes “the power to create and enforce a legal code, both civil and criminal”); FDA, 108 F.4th
 9   at 1176 (holding that injury to a sovereign interest “is sufficient to convey standing to . . .
10   challenge a federal statute that preempts or nullifies state law”).
11          The injuries to Plaintiff States’ sovereign and proprietary interests are fairly traceable to
12   the DPOC requirement of section 2(a) of the Executive Order.
13          Finally, summary judgment in Plaintiff States’ favor, and a corresponding injunction,
14   will redress these injuries by eliminating the need for Plaintiff States to change their voter
15   registration systems, the conflict with Plaintiff States’ laws, and this source of voter confusion.
16          2.      Plaintiff States’ challenge to the DPOC requirement satisfies any prudential
                    ripeness requirement
17
            Though the Supreme Court has called into question the prudential ripeness doctrine, see
18
     Susan B. Anthony List v. Driehaus, 573 U.S. 149, 167 (2014), the doctrine’s requirements are
19
     easily satisfied here. Because the “issues [raised by the Executive Order] are . . . purely legal”
20
     and “delay in adjudication will cause hardship[ to Plaintiff States,]” this case is ripe for
21
     adjudication. Thomas v. County of Humboldt, 124 F.4th 1179, 1190 (9th Cir. 2024).
22
            Plaintiff States “ ‘do[ ] not have to await the consummation of threatened injury to obtain
23
     preventive relief. If the injury is certainly impending, that is enough.’ ” Id. (citation omitted).
24
     The legality of section 2(a)’s DPOC requirement is fit for judicial decision because the issue—
25
     whether the Executive Order is ultra vires and violates the separation of powers—is purely legal
26


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 1   and does not require further factual development. See Haw. Newspaper Agency v. Bronster, 103
 2   F.3d 742, 746 (9th Cir. 1996) (holding that purely legal issues that can be decided “without
 3   further factual development” are fit for judicial decision); see also LULAC, 2025 WL 1187730,
 4   at *28 (“Section 2(a) dictates a particular outcome and leaves no uncertainty[.]”).
 5          Withholding review also creates unnecessary hardship for Plaintiff States. A “direct
 6   effect on the day-to-day business” of the plaintiff establishes a hardship on the parties for
 7   prudential ripeness purposes. Abbott Lab’ys v. Gardner, 387 U.S. 136, 152 (1967), abrogated
 8   on other grounds by Califano v. Sanders, 430 U.S. 99 (1977). Here, election officials are already
 9   diverting resources to address the Executive Order and the confusion that it has created.
10          3.      The President lacks authority to dictate requirements to register to vote
11          The Constitution assigns authority for regulating federal elections to the States in the first
12   instance and, second, to Congress. It assigns precisely zero authority to the President. U.S. Const.
13   art. I, § 4, cl. 1; see also U.S. Const. art. II, § 1, cl. 2. Congress exercised its Elections Clause
14   authority when it adopted the National Voter Registration Act, and the NVRA establishes that
15   attestation is generally sufficient to establish voters’ citizenship. 52 U.S.C. § 20508(b). Thus,
16   not only does the President lack any independent authority to regulate elections, his demand that
17   the EAC add a DPOC requirement to the Federal Form is contrary to federal law. As a result, it
18   violates the separation of powers and is ultra vires. See Youngstown, 343 U.S. at 585. Plaintiff
19   States are entitled to summary judgment.
20          The NVRA is designed to “increase the number of eligible citizens who register to vote
21   in elections for Federal office.” 52 U.S.C. § 20501(b)(1). One way Congress accomplished this
22   objective was by creating a consistent and simple process for voters to register to vote by mail
23   using the Federal Form. See 52 U.S.C. §§ 20505, 20508. The NVRA establishes the process for
24   creating the Federal Form and defines the Form’s contents. The Federal Form consists of three
25   components: (1) an application; (2) general instructions; and (3) state-specific instructions.
26


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 1   11 C.F.R. § 9428.3(a); see also Dkt. 1-2. An administrative regulation sets out the contents of
 2   the application. 11 C.F.R. § 9428.4.
 3           With respect to citizenship, the Federal Form must require (a) “an attestation that the
 4   applicant” is a U.S. citizen and (b) “the signature of the applicant, under penalty of perjury.” 52
 5   U.S.C. § 20508(b)(2). Congress specifically debated whether to include a requirement of further
 6   proof of citizenship on the Federal Form but rejected such a requirement as “not necessary or
 7   consistent with the purposes of this Act.” Conference Report on the National Voter Registration
 8   Act of 1993, H.R. Rep. No. 103-66 (Apr. 28, 1993) (Conf. Rep.); see also 139 Cong.
 9   Rec. S5746-03 (Daily Ed. May 11, 1993) (Senate agreeing to Conference Report). 1 In fact, the
10   NVRA specifically prohibits the Federal Form from requiring “notarization or other formal
11   authentication.” 52 U.S.C. § 20508(b)(3).
12           The Federal Form also contains additional state-specific requirements, but it may require
13   “only such . . . information . . . as is necessary to enable the appropriate State elections official
14   to assess the eligibility of the applicant and to administer voter registration and other parts of the
15   election process.” 52 U.S.C. § 20508(b)(1). As the Ninth Circuit recently held, “DPOC is not
16   legitimately necessary for registration.” Mi Familia Vota v. Fontes, 129 F.4th 691, 719 (9th
17   Cir. 2025). Accordingly, the NVRA precludes the Federal Form from requiring DPOC. See 52
18   U.S.C. § 20508(b)(1). Yet the Executive Order tries to require just that. In doing so, it violates
19   the NVRA and the separation of powers.
20           The Ninth Circuit’s decision in Mi Familia Vota is not an outlier. Several States have
21   unsuccessfully sought to add state-specific requirements for DPOC, but their efforts have been
22   rejected by the EAC and/or federal courts. Paradis Decl., Ex. C; see also League of Women
23   Voters of U.S. v. Newby, 838 F.3d 1, 9-12 (D.C. Cir. 2016) (reversing EAC’s decision to add
24   state-specific DPOC requirements); Kobach v. U.S. Election Assistance Comm’n, 772 F.3d 1183,
25   1194-99 (10th Cir. 2014) (rejecting challenge to EAC’s denial of request to add state-specific
26           1
                 Excerpts are available in Exhibit B of the Declaration of Kelly Paradis.


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 1   DPOC requirements); League of Women Voters of the U.S. v. Harrington, 560 F. Supp. 3d 177,
 2   186 (D.D.C. 2021) (reversing EAC’s decision to add state-specific DPOC requirements). Courts
 3   have uniformly concluded that States have not shown that DPOC is “necessary” for purposes of
 4   the NVRA. Mi Familia Vota, 129 F.4th at 719; Fish v. Schwab, 957 F.3d 1105, 1142 (10th
 5   Cir. 2020) (“[T]he Secretary has failed to rebut the presumption that the attestation requirement
 6   satisfies the minimum-information principle.”); Kobach, 772 F.3d at 1197-98 (“The states have
 7   failed to meet their evidentiary burden[.]”). And, consistent with the Ninth Circuit’s holding in
 8   Mi Familia Vota, the Supreme Court has held that the NVRA preempts state laws that attempt
 9   to add a DPOC requirement to register to vote in federal elections. Arizona v. Inter Tribal
10   Council of Arizona, Inc. (ITCA), 570 U.S. 1, 15 (2013).
11          The Executive Order clearly conflicts with the NVRA: Section 2(a) of the Executive
12   Order mandates that the Federal Form require DPOC, while the NVRA prohibits the Federal
13   Form from categorically requiring DPOC. Compare Dkt. 1-1, § 2(a) (mandating that the EAC
14   require DPOC on the Federal Form), with 52 U.S.C. § 20508(b)(1) (limiting information required
15   on Federal Form to “only such” information “as is necessary” for certain purposes (emphasis
16   added)), and Mi Familia Vota, 129 F.4th at 719 (“DPOC is not legitimately necessary for
17   registration.”). The President has no authority to re-write the NVRA in this (or any) manner, and
18   his attempt to do so violates the separation of powers and the NVRA itself.
19          4.      The President has no authority to direct the actions of the EAC
20          The Executive Order also violates the separation of powers in a second way. Through
21   the NVRA and the Help America Vote Act (HAVA), Congress assigned responsibility for
22   developing the Federal Form to an independent, bipartisan entity—the EAC. 52 U.S.C.
23   § 20508(a). Congress created important safeguards against partisan control of the EAC. The
24   EAC is composed of four members, two from each major political party, and the chair and vice
25   chair cannot be affiliated with the same political party. 52 U.S.C. § 20923(a), (c). Any action
26   requires the approval of at least three commissioners. 52 U.S.C. § 20928.


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 1             The Executive Order runs roughshod over these statutory safeguards. Where Congress
 2   required bipartisan agreement, the President claims the authority to dictate partisan action.
 3   Dkt. 1-1 at § 2(a)(i). Nothing in the NVRA or HAVA gives the President the authority to do so;
 4   to the contrary, Congress made clear that the EAC is an “independent entity,” 52 U.S.C. § 20921
 5   (emphasis added), and created a structure that ensures independence and bipartisanship. In this
 6   way as well, the Executive Order violates the separation of powers and is ultra vires.
 7             Further, section 4(a) of the Executive Order directs the EAC to “take all appropriate
 8   action to cease providing Federal funds to States that do not comply with[,]” among other things,
 9   the requirement to “accept and use the” Federal Form, “including any requirement for [DPOC]
10   adopted pursuant to section 2(a)(ii) of ” the Executive Order. Dkt. 1-1. Taken literally, this
11   requires only that state officials accept and use a version of the Federal Form that includes
12   language requiring DPOC; it does not require that Plaintiff States reject Federal Forms that are
13   not accompanied by DPOC. To the extent the Executive Order is a clumsy attempt to condition
14   EAC funding on States rejecting Federal Forms that lack DPOC, it is ultra vires. Congress has
15   specified the conditions that apply to EAC funding. See, e.g., 52 U.S.C. § 21003. The President
16   cannot unilaterally add conditions. City & County of San Francisco v. Trump, 897 F.3d 1225,
17   1233-35 (9th Cir. 2018).
18   C.        The President’s Attempt to Usurp Control Over State Ballot-Receipt Deadlines is
               Ultra Vires and Unconstitutional
19
               Section 7 of the Executive Order seeks to preempt state laws that allow for the counting
20
     of ballots that are cast by—but received after—election day. Section 7(a) directs the U.S.
21
     Attorney General to “take all necessary action to enforce” the nonexistent federal ballot-receipt
22
     deadline. Dkt. 1-1, § 7(a). Section 7(b) directs the EAC to “condition any available funding to a
23
     State on that State’s compliance” with a nonexistent federal ballot-receipt deadline. Dkt. 1-1,
24
     § 7(b).
25

26


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 1          This is entirely unlawful. Federal law does not create a ballot-receipt deadline. The
 2   statutes cited in the Executive Order (2 U.S.C. § 7 and 3 U.S.C. § 1) are conspicuously silent on
 3   when timely-cast ballots must be received. The President has no authority to invent new election
 4   regulations. Any effort by the U.S. Attorney General to enforce the made-up ballot-receipt
 5   deadline is unlawful, as is imposing new, non-congressionally approved conditions on federal
 6   funding. Plaintiff States are entitled to summary judgment that section 7 is ultra vires and a
 7   declaratory judgment that the federal election day statutes (2 U.S.C. § 7 and 3 U.S.C. § 1) do not
 8   preempt Plaintiff States’ ballot-receipt deadline laws.
 9          1.      Plaintiff States’ ballot-receipt deadline claims are justiciable
10                  a.      Plaintiff States have standing
11          Plaintiff States have standing under two independent theories.
12          First, Plaintiff States have standing because the Executive Order infringes on their
13   sovereign rights. See Arizona v. Yellen, 34 F.4th 841, 851 (9th Cir. 2022). Plaintiff States have
14   a sovereign interest in regulating the manner of federal elections, including setting ballot-receipt
15   deadlines. U.S. Const., art. I, § 4; Snapp, 458 U.S. at 601. Section 7 of the Executive Order
16   infringes on that sovereign interest by attempting to preempt ballot return deadlines. Dkt. 1-1,
17   § 7. The declaratory judgment claim requires interpreting statutes that set the election day for
18   federal general elections. See 2 U.S.C. § 1 (Senate), 2 U.S.C. § 7 (House); 3 U.S.C. §§ 1, 21(1)
19   (Presidential electors). While Defendants may disagree on the merits, it is “enough for standing
20   purposes that if the plaintiff's interpretation of the [challenged] statute was correct, it would
21   ‘suffer serious consequences.’ ” Yellen, 34 F.4th at 853 (quoting City & County of San Francisco,
22   897 F.3d at 1236).
23          Second, Plaintiff States have standing based on financial injuries. Enforcement of a
24   ballot-receipt deadline will injure Plaintiff States through the loss of EAC and U.S. DOJ funding,
25   see Holmes Decl., ¶¶ 76-77; Dawson Decl., ¶ 20; Farmer Decl., ¶ 35; Hall Decl., ¶¶ 36, 48;
26   Declaration of Leesa Manion, ¶¶ 4-8; Declaration of Patricia Cole-Tindall, ¶¶ 13-27, by requiring


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 1   additional ballot drop boxes and county staff, Wise Decl., ¶ 37, and by the very substantial costs
 2   of changing how Plaintiff States treat ballots received after election day, Wise Decl., ¶ 39;
 3   Kimsey Decl., ¶ 17; Hall Decl., ¶ 33; Dawson Decl., ¶¶ 15-16.
 4             Plaintiff States’ injuries are directly traceable to the Executive Order, and a declaratory
 5   judgment and permanent injunction preventing enforcement of section 7 will remedy the harm.
 6                    b.      The Plaintiff States’ declaratory judgment claim is ripe
 7             Plaintiff States’ declaratory judgment claim is fit for judicial decision and, absent a
 8   decision from this Court, the parties will suffer hardship. See Thomas, 124 F.4th at 1187. The
 9   claim is fit for a judicial decision because it is not contingent on future events. Plaintiff States
10   have existing ballot-receipt deadlines that are inconsistent with the Executive Order, and the
11   Executive Order directs that the Attorney General “shall” enforce the statutes against Plaintiff
12   States. Dkt. 1-1, § 7(a). The dispute exists now, and the question is purely legal—whether federal
13   law preempts Plaintiff States’ ballot-receipt deadlines. See Haw. Newspaper Agency, 103 F.3d
14   at 746.
15             Absent this Court’s review, Plaintiff States will suffer hardship. Plaintiff States must
16   choose between changing statutory ballot-receipt deadlines and enforcement by the U.S.
17   Attorney General (whether that is withholding DOJ grants, criminal prosecutions of election
18   officials, and/or civil proceedings). Changing ballot-receipt deadlines involves not only injury
19   to Plaintiff States’ sovereign interests in adopting and enforcing state law, but also the costs of
20   public education campaigns, building additional drop boxes, and hiring additional staff. Wise
21   Decl., ¶¶ 33, 36-37; Farmer Decl., ¶ 36; Dawson Decl., ¶ 15-16. Enforcement action would also
22   involve obvious hardships. E.g., Wise Decl., ¶¶ 52-54; Hall Decl., ¶¶ 32-33. Either way, there is
23   a “ ‘substantial controversy, between parties having adverse legal interests, of sufficient
24   immediacy and reality to warrant the issuance of a declaratory judgment.’ ” MedImmune, Inc. v.
25   Genentech, Inc., 549 U.S. 118, 127 (2007) (quoting Md. Casualty Co. v. Pac. Coal & Oil Co.,
26   312 U.S. 270, 273 (1941)).


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 1           The Court should not delay resolution of the ballot-receipt deadline dispute. It is well
 2   established that “federal courts should ordinarily not alter the election rules on the eve of an
 3   election.” Republican Nat’l Comm. v. Democratic Nat’l Comm., 589 U.S. 423, 424 (2020) (per
 4   curiam) (citing Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam)). Changes to ballot-receipt
 5   deadlines will take significant time to implement, so this issue must be decided well ahead of
 6   the 2026 general election.
 7           2.        The President has no authority to dictate ballot-receipt deadlines
 8           The President has no constitutional authority to create ballot-receipt deadlines for federal
 9   elections. The Constitution vests the authority to regulate federal elections in States and
10   Congress. U.S. Const. art. I, § 4. The Executive Order does not claim otherwise. See Dkt. 1-1,
11   §§ 1, 7.
12           The President also has no statutory authority to require that States adopt his preferred
13   ballot-receipt deadline. The Executive Order relies on a patently incorrect reading of two federal
14   statutes—2 U.S.C. § 7 and 3 U.S.C. § 1—that, according to the President, create a “ballot receipt
15   deadline of Election Day for all methods of voting, excluding ballots cast in accordance with”
16   the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA). Dkt. 1-1, § 7(b). But
17   those statutes are entirely silent regarding ballot-receipt deadlines; they simply establish a
18   uniform day for federal general elections. The statute regarding elections for United States
19   representatives provides, in its entirety, as follows:
20              The Tuesday next after the 1st Monday in November, in every even numbered
21              year, is established as the day for the election, in each of the States and
                Territories of the United States, of Representatives and Delegates to the
22              Congress commencing on the 3d day of January next thereafter.

23   2 U.S.C. § 7. The words “ballot” and “deadline” are conspicuously absent from this text.

24   Similarly, the statute for elections of presidential electors provides, in its entirety, as follows:

25              The electors of President and Vice President shall be appointed, in each State,
                on election day, in accordance with the laws of the State enacted prior to
26              election day.

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 1   3 U.S.C. § 1.
 2            The interpretive task here is straightforward. When interpreting laws adopted under the
 3   Elections Clause, “the reasonable assumption is that the statutory text accurately communicates
 4   the scope of Congress’s pre-emptive intent.” ITCA, 570 U.S. at 14. Such legislation supersedes
 5   state laws so far as they are inconsistent, but “no farther[.]” Id. at 9. The statutory text is clear.
 6   It sets a date on which the election must be held. State laws that count ballots postmarked by
 7   election day are entirely consistent with the federal election day statutes. The voter has made a
 8   final and irreversible selection by election day, just like a voter who casts a ballot at a polling
 9   site. The federal election day statutes are silent on these deadlines and so the state laws are not
10   preempted. See ITCA, 570 U.S. at 14.
11            Plaintiff States are far from alone; many States accept timely-cast ballots that are received
12   after election day. Seventeen States (slightly over one-third of all States), plus the District of
13   Columbia, accept ballots received after election day so long as they were postmarked on or
14   before election day. National Council of State Legislatures, Table 11: Receipt and Postmark
15   Deadlines for Absentee/Mail Ballots (updated May 12, 2025), https://www.ncsl.org/elections-
16   and-campaigns/table-11-receipt-and-postmark-deadlines-for-absentee-mail-ballots. 2
17            The purpose of the federal election day statutes confirms that they were never intended
18   to preempt state ballot-receipt deadlines. The sponsor of the bill identified the purpose as
19   avoiding a situation in which “it will be in the power of each State to fix upon a different day”
20   to hold elections and to prevent any States from obtaining an “undue advantage.” Cong. Globe,
21   42d Cong., 2d Sess. 141 (1871) (remarks of Rep. Butler). 3 Nothing in the text or legislative
22   history expresses concern with when ballots cast by election day are received or counted. And
23   this is telling because receiving timely-cast ballots after election day was not unknown. During
24   the Civil War, some States permitted soldiers in the field to provide their ballots to military
25            2
                  Until May 7, 2025, Utah was an eighteenth state that accepted timely-cast ballots received after election
     day.
26            3
                  This excerpt is Exhibit D of the Declaration of Kelly Paradis.


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 1   officials on election day that were then transmitted to election officials after election day. Josiah
 2   Henry Benton, Voting in the Field: A Forgotten Chapter of the Civil War 171-73, 186-87, 190
 3   (1915), https://perma.cc/5HGD-K5JC/. This occurred shortly before the 1871 adoption of the
 4   federal election day statutes. And through the following 150 years, States have continued to
 5   exercise their authority to accept ballots received after election day, see, e.g., 1933 Wash. Sess.
 6   Laws 100-01 (Ex. Sess., ch. 41, § 3) (requiring that absentee ballots be “posted . . . not later than
 7   the day of the election”); Cal. Political Code § 1360 (Deering 1924); Kans. Rev. Stat. § 25-1106
 8   (Chester I. Long, et al., eds. 1923), and, despite amending the federal election day statutes,
 9   Congress has never called those state laws into question.
10          The federal statutes only set the date for federal general elections. 2 U.S.C. § 7; 3 U.S.C.
11   § 21(1). If these statutes were intended to preempt state ballot-receipt deadlines for federal
12   elections, they would refer to “federal elections” generally, and thus also apply to primary and
13   special federal elections, as do other federal election statutes. See 52 U.S.C. § 30101(1) (defining
14   “election” under federal campaign finance law to include “a general, special, primary, or runoff
15   election”); 52 U.S.C. § 20502 (adopting § 30101(1) definition for NVRA).
16          Later legislative history further confirms that Congress has never intended to preempt
17   state ballot-receipt deadline laws. In 2022, Congress amended the presidential electors statute,
18   3 U.S.C. § 1, to add the term “election day,” which it defined in 3 U.S.C. § 21(1). Consolidated
19   Appropriations Act of 2023, Pub. L. No. 117-328, § 102, 136 Stat. 4459 (Dec. 29, 2022). At that
20   time, Congress was certainly aware that over one-third of States counted timely-cast ballots
21   received after election day. And yet Congress still remained silent on ballot-receipt deadlines,
22   reflecting that it did not intend to preempt this well-established form of state election regulation.
23          Similarly, in 1986, Congress enacted the law now known as UOCAVA. That statute
24   provided, and still provides, that overseas ballots “shall be submitted and processed in the
25   manner provided by law for absentee ballots in the State involved[ ]” and acknowledges that the
26   “deadline for receipt of the State absentee ballot under State law” applies. UOCAVA, Pub. L.


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 1   No. 99-410, § 103(b), 100 Stat. 924 (Aug. 28, 1986), codified at 52 U.S.C. § 20303(b). At that
 2   time, at least eight states and the District of Columbia already had laws providing that absentee
 3   ballots postmarked by election day but received after election day must be counted. 1986 Ala.
 4   Sess. Laws, ch. 85, §§ 9-11; 1985 Md. Laws 2768; 1985 Mass. Acts 792, 792-93; 1984 N.Y.
 5   Laws 1784; 1981 N.D. Laws 564, 564-65; 1984 Ohio Laws 137; 1984 V.I. Sess. Laws 132; 32
 6   D.C. Reg. 3828 (July 5, 1985). In adopting UOCAVA, Congress blessed these ballot-receipt
 7   deadlines, expressly making them applicable to UOCAVA ballots.
 8          The Executive Order does something telling here. It claims to exempt UOCAVA voters
 9   from the election day ballot-receipt deadline. Dkt. 1-1, § 7. But the statutes it relies on—2 U.S.C.
10   § 7 and 3 U.S.C. § 1—create no such exception, nor does UOCAVA expressly create an
11   exception. UOCAVA simply provides that state ballot receipt deadlines apply to UOCAVA
12   ballots. In this attempt to create an exception, the President gives the game away. He is not
13   attempting to enforce federal law; he is attempting to pick and choose who gets to vote for
14   President. He does not, should not, and must not have that power.
15          Unsurprisingly, federal and state courts have almost universally rejected the argument
16   that the election day statutes preempt state ballot-receipt deadlines. See Pa. Democratic Party v.
17   Boockvar, 238 A.3d 345, 368 n.23 (Pa. 2020) (observing that “the tabulation of ballots received
18   after Election Day does not undermine the existence of a federal Election Day, where the
19   proposal requires that ballots be cast by Election Day”); Bognet v. Sec’y Commonwealth of Pa.,
20   980 F.3d 336, 353-54 (3d Cir. 2020), cert. granted, judgment vacated as moot sub nom. Bognet
21   v. Degraffenreid, 141 S. Ct. 2508 (2021) (“The Deadline Extension and federal laws setting the
22   date for federal elections can, and indeed do, operate harmoniously.”); Donald J. Trump for
23   President v. Way, 492 F. Supp. 3d 354, 369-73 (D.N.J. 2020) (finding no likelihood of success
24   in challenge to a state’s post-election mail ballot-receipt deadline); Bost v. Ill. State Bd. of
25   Elections, 684 F. Supp. 3d 720, 736 (N.D. Ill. 2023) (holding that Illinois law allowing counting
26   of timely-cast votes received after election day “does not conflict” with federal election day


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 1   statutes); Republican Nat’l Comm. v. Wetzel, 742 F. Supp. 3d 587, 601 (S.D. Miss.), rev’d in
 2   part, vacated in part, 120 F.4th 200 (5th Cir. 2024) (similar for Mississippi law).
 3            There is only one case that goes against this overwhelming weight of authority. In
 4   Republican National Committee v. Wetzel, 120 F.4th 200, 203-05 (5th Cir. 2024), 4 the Fifth
 5   Circuit held that the federal election day statutes preempted Mississippi’s laws that counted
 6   timely-cast ballots received after election day. The Fifth Circuit’s decision is not binding on this
 7   Court, and its profound errors make it decidedly unpersuasive.
 8            Wetzel is atextual. It invents an election day ballot-receipt requirement that appears
 9   nowhere in the text of the statute. The core analytical basis for the Wetzel decision is the panel’s
10   conclusion that a ballot is not “cast” (a term appearing nowhere in federal law) until “it is
11   received” by election officials. Id. at 207. But the only analysis is the panel’s assertion that “it
12   should be . . . obvious[.]” Id. There is no citation to contemporary dictionary definitions; there
13   is no respect, as required by principles of federalism, for the fact that over one-third of States
14   have reached a very different conclusion; there is no recognition that Congress has long
15   acquiesced in post-election day ballot-receipt deadlines. And the Wetzel panel is simply wrong.
16   It is far from “obvious” that a ballot is not cast until it is received. Even when a person “casts”
17   their vote in person at a voting booth on election day, it might not be “received” by election
18   officials who will actually count the ballot until arrival many hours later (perhaps after midnight,
19   and so on the next day), at a central location. The Wetzel court acknowledged that “most . . .
20   contemporary sources” that define the term election “make no mention of deadlines or ballot
21   receipt.” 120 F.4th at 206 n.5. But rather than draw the obvious conclusion that, in using the term
22   election, Congress did not address deadlines or ballot-receipt, the Wetzel court gave itself carte
23   blanche to invent such a new definition.
24

25            4
               Five judges dissented from the petition to rehear the case en banc. 132 F.4th 775 (5th Cir. 2025).
     Mississippi has informed the district court that it intends to file a petition for writ of certiorari. Republican Nat’l
26   Comm. v. Wetzel, No. 1:24-cv-00025-LG-RPM (S.D. Miss. Apr. 18, 2025), ECF No. 116.


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 1           Wetzel is also ahistorical. As discussed above, during the Civil War, one practice for
 2   soldiers was to return ballots to military officials on election day, which were transmitted to
 3   election officials between election day and canvassing. Benton, supra, at 186-87, 190; Wetzel
 4   mischaracterizes this history, incorrectly claiming that “[e]lection officials brought ballot boxes
 5   to the battle-field[.]” 120 F.4th at 209 (emphasis added) (citing Benton, supra, at 15). This was
 6   true for some States, but, had the Wetzel panel kept reading the source it cited, it would have
 7   learned that other States did not rely on election officials. Wetzel also glosses over the expansion
 8   of state laws authorizing post-election day receipt, characterizing eighteen States—over one-
 9   third of all States—as “[a] few ‘late-in-time outliers[.]’ ” Id. at 211.
10           Finally, Wetzel is based on factual assumptions that are wrong. Wetzel falsely suggests
11   that “voters can change their votes after Election Day” by recalling their mailed ballots. Id. at
12   208. But even if a voter successfully recalls a mailed ballot after election day and makes changes
13   to the ballot, it will not be accepted because the new postmark will be after election day.
14           There are many other methodological and practical problems with the Wetzel decision.
15   Its reasoning would, for example, call into question the ability of election officials to later reject
16   improper ballots or for voters to later cure signature issues on ballots. Id. at 207 (suggesting that
17   the election result must be “fixed” by election day). And it badly misconstrues certain cases it
18   relies on, including Maddox v. Board of State Canvassers, 149 P.2d 112 (Mont. 1944), and
19   Newberry v. United States, 256 U.S. 232, 250 (1921). For present purposes, it is enough to show
20   that Wetzel is simply wrong—very wrong—in interpreting 2 U.S.C. § 7 and 3 U.S.C. § 1 to create
21   an election day ballot-receipt deadline.
22           Properly construed, nothing in the text of 2 U.S.C. § 7 or 3 U.S.C. § 1 purports to require
23   that election officials receive ballots by election day. Under the Elections Clause, regulating this
24   aspect of the manner of federal elections is left to the States. U.S. Const. art. I, § 4. The President
25   has no authority to require that States reject ballots received after election day.
26


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 1   D.      The President Has No Authority to Dictate Standards for Voting Systems or the
             Outcome of the Testing and Certification Process
 2
             The Executive Order unlawfully directs the EAC to make specific changes to voting
 3
     system guidelines and to rescind certifications of voting systems by mid-September 2025. This
 4
     directive will result in the federal de-certification of all voting systems used in the United States,
 5
     including in Plaintiff States. This serves no purpose other than to undermine public confidence
 6
     in the legitimacy of elections. The President has no authority to order changes to election systems
 7
     guidelines or dictate the outcome of the testing and certification process. If the President has the
 8
     authority to order these changes to voting systems guidelines, nothing prevents the President
 9
     from ordering even more dramatic changes to election systems, tightening control over elections
10
     in a manner antithetical to our democratic process. Sections 4(a) and 4(b) violate the separation
11
     of powers and are ultra vires and unconstitutional; this Court should permanently enjoin the
12
     EAC from implementing these unlawful provisions.
13
             1.      Plaintiff States have standing to challenge the voting systems requirements
14
             In Washington, voting systems must be approved by the Secretary of State, and the voting
15
     system must be one that “has been tested and certified by an independent testing authority
16
     designated by the” EAC. Wash. Rev. Code §§ 29A.12.050, .080(5). In Oregon, voting systems
17
     must be certified by the Secretary of State, Or. Rev. Stat. § 246.550, for which he relies on federal
18
     certifications, Or. Admin. R. 165-007-0350(1).
19
             In order to receive federal certification, voting systems must satisfy the Voluntary Voting
20
     System Guidelines (VVSG) adopted by the EAC. Holmes Decl., ¶ 60. The voting systems
21
     currently used in the States have all been certified under the VVSG 1.0 testing standard. Id.,
22
     ¶ 57. In 2021, the EAC adopted the latest iteration of the VVSG (VVSG 2.0), but the EAC has
23
     not certified any voting systems under that testing standard. Id., ¶¶ 68-69.
24
             The Executive Order mandates that, within 180 days of its issuance (i.e., by
25
     September 21, 2025), the EAC must “take appropriate action to . . . rescind all previous
26


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 1   certifications of voting equipment based on prior standards.” Dkt. 1-1, § 4(b)(ii). The EAC may
 2   re-certify voting systems under the new guidelines that the Executive Order directs the EAC to
 3   adopt. Id. But those new standards will not exist by September 21, 2025. Holmes Decl., ¶ 70.
 4   Even if they did, no systems could be re-certified to these standards by September 21;
 5   certification is a years-long process. Id., ¶¶ 67-68, 70. The inevitable result is that the Executive
 6   Order directs the EAC to de-certify all voting systems used in the United States.
 7          The de-certification of voting systems creates a concrete and particularized injury to
 8   Plaintiff States. Plaintiff States face the untenable dilemma of continuing to use the federally
 9   de-certified voting systems or else count ballots by hand until new voting systems are available
10   or existing systems are re-certified. Adopting new voting system guidelines and certifying voting
11   systems under those guidelines is a years-long process. Holmes Decl., ¶¶ 67-68. Using federally
12   de-certified voting systems will undermine public confidence in elections in Plaintiff States and
13   require that Plaintiff States spend staff time and money explaining to voters that the voting
14   systems are reliable and secure. Holmes Decl., ¶ 73; Kimsey Decl., ¶ 24; Hall Decl., ¶ 46. In the
15   alternative, Plaintiff States would have to either buy expensive new voting systems, Kimsey
16   Decl., ¶ 22 (“approximately $750,000” for Clark County); Hall Decl., ¶ 45 (“over $550,000” for
17   Thurston County), or hire enough staff to hand-count ballots, a process that is time-consuming,
18   costly, and less reliable than counting ballots using a tabulator. Holmes Decl., ¶ 74; Kimsey
19   Decl., ¶¶ 25-28; Hall Decl., ¶ 47.
20          These harms are directly traceable to the Executive Order. Before the Executive Order,
21   there was no direction for the EAC to rescind voting system certifications and, therefore, no need
22   for Plaintiff States to replace their existing voting systems. Summary judgment will redress these
23   harms. If this Court grants summary judgment, the Plaintiff States will continue using their
24   existing voting systems without the harms identified.
25

26


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 1            2.      The President has no authority to control voting systems
 2            The President has no constitutional authority to alter voting system guidelines or to direct

 3   which voting systems are federally certified. Nothing in the Elections Clause gives the President

 4   control over any aspect of regulating elections. See U.S. Const. art. I, § 4, cl. 1; see also U.S.

 5   Const. art. II, § 1, cl. 2.

 6            The President also has no statutory authority to alter voting system guidelines. Through

 7   HAVA, Congress assigned responsibility for adopting and modifying the VVSG to the

 8   independent and bipartisan EAC, and it required the EAC to consider the technical expertise of

 9   several bipartisan expert bodies. 52 U.S.C. §§ 20922(1), 20962. To adopt or modify the VVSG,

10   the Executive Director of the EAC must first work with the Technical Guidelines Development

11   Committee and take its recommendations into consideration. 52 U.S.C. §§ 20961(b)(1),

12   20962(b)(1). Next, the Board of Advisors and the Standards Board must review the proposed

13   guidelines and submit comments and recommendations, which the EAC must consider. 52

14   U.S.C. § 20962(b)-(d). The EAC must also publish the proposed VVSG in the Federal Register,

15   provide an opportunity for public comment, and publish the final guidelines in the Federal

16   Register. 52 U.S.C. § 20962(a). The EAC may not vote on the final adoption (or modification)

17   of a guideline until 90 days after submission to the Board of Advisors and Standards Board, and

18   at least three of the EAC’s four members must vote to approve it. 52 U.S.C. §§ 20962(d)(2),

19   20928.

20            Nor does the President have any statutory authority to determine which voting systems

21   can be federally certified. Through HAVA, Congress assigned the EAC responsibility to test,

22   certify, de-certify, or re-certify voting system hardware and software. 52 U.S.C. §§ 20922(2),

23   20971. Congress assigned no similar responsibility to the President.

24            Congress created no role for the President in the processes of adopting or modifying

25   VVSG or certifying or de-certifying voting systems. Congress plainly intended for such

26   decisions to be made by bipartisan entities composed of individuals with experience or expertise


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 1   in election administration or the study of elections. See 52 U.S.C. §§ 20923(a)(1), (3), 20943(a),
 2   20944(a)-(b), 20961(c). The Executive Order entirely upends the statutory scheme created by
 3   Congress, seeking to replace statutorily required bipartisan consensus based on technical
 4   expertise with presidential whims based on conspiracy theories. The President’s actions violate
 5   the separation of powers and are ultra vires. This court should hold unlawful the President’s
 6   attempts to control the voting systems used by the Plaintiff States.
 7                                        IV.     CONCLUSION
 8          To prevent tyranny, the Framers intentionally divided power between the States and the
 9   Federal Government and separated the Federal Government’s powers among three branches. In
10   the Executive Order provisions challenged here, the President seeks to disregard constitutional
11   limits on his power. In any context, this would be troubling, but it is especially so in the context
12   of elections. As the Supreme Court has held, the right to vote “in a free an unimpaired manner
13   is preservative of other basic civil and political rights.” Reynolds v. Sims, 377 U.S. 533, 562
14   (1964). Our Constitution and laws do not permit any President to exert control over the
15   regulation of our elections. Accordingly, this Court should grant partial summary judgment in
16   favor of Plaintiff States and (1) hold that sections 2(a), 4(a), 4(b), and 7 of the Executive Order
17   are ultra vires and a violation of the separation of powers and (2) enter a declaratory judgment
18   that Plaintiff States’ ballot-receipt deadlines are not preempted by 2 U.S.C. § 7 or 3 U.S.C. § 1.
19          DATED this 29th day of May, 2025.
20

21

22

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 1                                     I certify that this memorandum contains 8,345
                                       words, in compliance with the Local Civil Rules
 2

 3                                     NICHOLAS W. BROWN
                                        Attorney General
 4                                      State of Washington
 5                                     NOAH G. PURCELL, WSBA 43492
                                        Solicitor General
 6
                                       s/ Karl D. Smith
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     PLAINTIFFS’ MOTION FOR PARTIAL        25              ATTORNEY GENERAL OF WASHINGTON
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